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                            UNITED STATES BANKRUPTCY COURT
                              NORTHERN DISTRICT OF TEXAS
                                    LUBBOCK DIVISION

 IN RE:                                            §
                                                   §   CASE NO. 15-50205-rlj11
 POSITRON CORPORATION,                             §   (Chapter 11)
                                                   §
          Debtor.                                  §

                            CHAPTER 11 BALLOT CERTIFICATION

        The undersigned certifies that the following ballots have been received and were presented on
April 26, 2017 at the confirmation hearing in connection with the solicitation and confirmation of the
First Amended Plan of Reorganization of Positron Corporation Dated March 27, 2017 (Docket No. 185)




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                                         CERTIFICATE OF SERVICE
         This is to certify that a true and correct copy of the foregoing was served upon all registered ECF
users in this case on May 17, 2017.

                                                          /s/ Jeff Carruth
                                                          Jeff Carruth




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